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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-90147
      Mountain Express Oil Company and Official Committee Of Unsecured
      Creditors
      Electronic Hearing - Motion for Entry of Order Doc. [488]; Trustee's
      Emergency Motion to Approve Compromise Doc. [2066].




      Case Type :                    bk
      Case Number :                  2023-90147
      Case Title :                   Mountain Express Oil Company and Official Committee Of Unsecured
                                     Creditors
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